                                  STATEMENT OF FACTS

        On or about February 3, 2019, while in the 1800 block of Morris Road, S.E, Washington,
DC, officers from the Metropolitan Police Department heard the sounds of gunshots. While
responding to the area, a dispatch was given for gunshots fired inside 2674 Martin Luther King
Jr., Avenue, S.E. Dispatch Officers entered the opened door to 2674 and immediately stopped the
defendant Lionel Jackson inside the residence. The defendant’s wife told officers, the defendant
had entered the house and began banging on the wall. She then heard at least one gunshot inside
the home, and several others outside the home. The defendant was placed under arrest after the
officers located a bullet hole in a wall inside the residence. During a post arrest/post rights
interview with detectives, the defendant admitted that he had a .38 caliber revolver and that he
fired a shot into the wall. He also stated he had thrown the gun away. To the best of the
undersigned officer=s knowledge, defendant Lionel Jackson, has previously been convicted of a
crime punishable by imprisonment for a term exceeding one year in U.S. District Court for the
District of Columbia Criminal Case No. 05-CR-130. Before filing this complaint, the officer
reviewed at least one computer print-out of the defendant=s criminal history and it showed that the
defendant had been convicted of such crime. He wrote his initials on the computer print-out that
he reviewed, so that he would recognize it again in the future. To the best of this officer’s
knowledge, there are no .38 caliber revolvers nor .38 caliber ammunition manufactured in the
District of Columbia.



                                      _______________________________________
                                      OFFICER KEVIN BERGERON
                                      METROPOLITAN POLICE DEPARTMENT



SWORN AND SUBSCRIBED BEFORE ME ON THIS _____ DAY OF FEBRUARY, 2019.



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                                             U.S. MAGISTRATE JUDGE
